                      UNITED STATES OF AMERICA
                   MERIT SYSTEMS PROTECTION BOARD


MONA SKINNER,                                   DOCKET NUMBER
             Appellant,                         DE-0752-19-0208-I-1

             v.

DEPARTMENT OF HEALTH AND                        DATE: August 22, 2024
  HUMAN SERVICES,
            Agency.



        THIS FINAL ORDER IS NONPRECEDENTIAL 1

      Mona Skinner , Surprise, Arizona, pro se.

      Moira McCarthy , Esquire, Phoenix, Arizona, for the agency.


                                      BEFORE

                           Cathy A. Harris, Chairman
                        Raymond A. Limon, Vice Chairman
                           Henry J. Kerner, Member*

      *Member Kerner did not participate in the adjudication of this appeal.

                                  FINAL ORDER

      The appellant has filed a petition for review of the initial decision, which
dismissed her removal appeal for failure to prosecute. On petition for review, the
appellant argues that she did not receive any information regarding her case until
she received the initial decision, asserts that she encountered issues with
1
   A nonprecedential order is one that the Board has determined does not add
significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
but such orders have no precedential value; the Board and administrative judges are not
required to follow or distinguish them in any future decisions. In contrast, a
precedential decision issued as an Opinion and Order has been identified by the Board
as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                     2

e-Appeal, and indicates that she suffers from a number of medical issues.
Generally, we grant petitions such as this one only in the following
circumstances: the initial decision contains erroneous findings of material fact;
the initial decision is based on an erroneous interpretation of statute or regulation
or the erroneous application of the law to the facts of the case; the administrative
judge’s rulings during either the course of the appeal or the initial decision
were not consistent with required procedures or involved an abuse of discretion,
and the resulting error affected the outcome of the case; or new and material
evidence or legal argument is available that, despite the petitioner’s due
diligence, was not available when the record closed.        Title 5 of the Code of
Federal Regulations, section 1201.115 (5 C.F.R. § 1201.115).             After fully
considering the filings in this appeal, we conclude that the petitioner has not
established any basis under section 1201.115 for granting the petition for review.
      On review, the appellant asserts that she did not receive any information
regarding her case until she received the initial decision dismissing her appeal for
failure to prosecute. Petition for Review (PFR) File, Tab 5 at 4. She also asserts
that she “attempted to log in to [her] account several times and was
unsuccessful.”   Id.   Finally, the appellant notes that she suffers from severe
migraines and recently underwent surgery. Id.; PFR File, Tab 2 at 1.
      The appellant filed her appeal electronically and elected to register as an
e-filer during the adjudication of her initial appeal. See Initial Appeal File (IAF),
Tab 1 at 2. E-filers consent to accept electronic service of Board documents.
5 C.F.R. § 1201.14(e)(1) (2019). When Board documents are issued, an email is
sent to an e-filer at their email address of record, notifying them of the issuance
and providing them with a link to e-Appeal where the documents can be viewed
and downloaded. 5 C.F.R. § 1201.14(j)(1) (2019). E-filers are also responsible
for monitoring case activity at e-Appeal to ensure that they have received all
case-related documents and for ensuring that email from mspb.gov is not blocked
by filters. 5 C.F.R. § 1201.14(j)(2)-(3) (2019). As an e-filer, the appellant is
                                                                                      3

deemed to have received the administrative judge’s orders scheduling and
rescheduling the status conference and informing her that her appeal would be
dismissed for failure to prosecute if she did not affirm her intention to continue
pursuing her appeal, when they were electronically issued on April 18, 2019,
May 7, 2019, and May 10, 2019, respectively.          Palermo v. Department of the
Navy, 120 M.S.P.R. 694, ¶ 3 (2014); see IAF, Tabs 3, 6-7.               Regarding the
appellant’s assertions that she had issues logging in to e -Appeal or that she did
not receive notice of the Board’s filings, there is nothing in the record to suggest
that she sought to contact the Board for assistance after her allegedly
unsuccessful attempts.     As such, we are not persuaded by her allegations
regarding e-Appeal.
      Finally, the appellant has not provided sufficient support for her contention
that her medical conditions affected her ability to timely respond to the
administrative judge’s orders. The appellant did not offer any explanation as to
how her medical conditions rendered her unable to participate in the proceedings
below. PFR File, Tab 2 at 1, Tab 5 at 4. In the absence of such explanation, we
do not find good cause for her failure to prosecute her appeal. Cf. Monley v. U.S.
Postal Service, 74 M.S.P.R. 27, 29-30 n.2 (1997) (finding that the appellant
showed good cause for his failure to comply with the administrative judge’s
orders when he submitted a sworn statement and a doctor’s letter explaining how
his medical condition hindered his ability to pursue his appeal).
      Therefore, we DENY the petition for review and AFFIRM the initial
decision, which is now the Board’s final decision. 5 C.F.R. § 1201.113(b).

                         NOTICE OF APPEAL RIGHTS 2
      You may obtain review of this final decision. 5 U.S.C. § 7703(a)(1). By
statute, the nature of your claims determines the time limit for seeking such

2
  Since the issuance of the initial decision in this matter, the Board may have updated
the notice of review rights included in final decisions. As indicated in the notice, the
Board cannot advise which option is most appropriate in any matter.
                                                                                         4

review and the appropriate forum with which to file.              5 U.S.C. § 7703(b).
Although we offer the following summary of available appeal rights, the Merit
Systems Protection Board does not provide legal advice on which option is most
appropriate for your situation and the rights described below do not represent a
statement of how courts will rule regarding which cases fall within their
jurisdiction.   If you wish to seek review of this final decision, you should
immediately review the law applicable to your claims and carefully follow all
filing time limits and requirements. Failure to file within the applicable time
limit may result in the dismissal of your case by your chosen forum.
      Please read carefully each of the three main possible choices of review
below to decide which one applies to your particular case. If you have questions
about whether a particular forum is the appropriate one to review your case, you
should contact that forum for more information.

      (1) Judicial review in general . As a general rule, an appellant seeking
judicial review of a final Board order must file a petition for review with the U.S.
Court of Appeals for the Federal Circuit, which must be received by the court
within 60 calendar days of the date of issuance of this decision.                5 U.S.C.
§ 7703(b)(1)(A).
      If you submit a petition for review to the U.S. Court of Appeals for the
Federal   Circuit,   you   must   submit   your   petition   to    the   court    at   the
following address:
                              U.S. Court of Appeals
                              for the Federal Circuit
                             717 Madison Place, N.W.
                             Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
                                                                                    5

      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.

      (2) Judicial   or   EEOC     review   of   cases     involving   a   claim   of
discrimination . This option applies to you only if you have claimed that you
were affected by an action that is appealable to the Board and that such action
was based, in whole or in part, on unlawful discrimination. If so, you may obtain
judicial review of this decision—including a disposition of your discrimination
claims —by filing a civil action with an appropriate U.S. district court ( not the
U.S. Court of Appeals for the Federal Circuit), within 30 calendar days after you
receive this decision.     5 U.S.C. § 7703(b)(2); see Perry v. Merit Systems
Protection Board, 582 U.S. 420 (2017). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
with the district court no later than 30 calendar days after your representative
receives this decision. If the action involves a claim of discrimination based on
race, color, religion, sex, national origin, or a disabling condition, you may be
entitled to representation by a court-appointed lawyer and to waiver of any
requirement of prepayment of fees, costs, or other security.           See 42 U.S.C.
§ 2000e-5(f) and 29 U.S.C. § 794a.
      Contact information for U.S. district courts can be found at their respective
websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .
      Alternatively, you may request review by the Equal Employment
Opportunity Commission (EEOC) of your discrimination claims only, excluding
all other issues . 5 U.S.C. § 7702(b)(1). You must file any such request with the
                                                                                    6

EEOC’s Office of Federal Operations within 30 calendar days after you receive
this decision. 5 U.S.C. § 7702(b)(1). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
with the EEOC no later than 30 calendar days after your representative receives
this decision.
      If you submit a request for review to the EEOC by regular U.S. mail, the
address of the EEOC is:
                            Office of Federal Operations
                     Equal Employment Opportunity Commission
                                  P.O. Box 77960
                             Washington, D.C. 20013

      If you submit a request for review to the EEOC via commercial delivery or
by a method requiring a signature, it must be addressed to:
                            Office of Federal Operations
                     Equal Employment Opportunity Commission
                                 131 M Street, N.E.
                                   Suite 5SW12G
                             Washington, D.C. 20507

      (3) Judicial     review   pursuant    to   the   Whistleblower     Protection
Enhancement Act of 2012 . This option applies to you only if you have raised
claims of reprisal for whistleblowing disclosures under 5 U.S.C. § 2302(b)(8) or
other protected activities listed in 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D).
If so, and your judicial petition for review “raises no challenge to the Board’s
disposition of allegations of a prohibited personnel practice described in
section 2302(b) other than practices described in section 2302(b)(8), or 2302(b)
(9)(A)(i), (B), (C), or (D),” then you may file a petition for judicial review either
with the U.S. Court of Appeals for the Federal Circuit or any court of appeals of
competent jurisdiction. 3   The court of appeals must receive your petition for
3
  The original statutory provision that provided for judicial review of certain
whistleblower claims by any court of appeals of competent jurisdiction expired on
December 27, 2017. The All Circuit Review Act, signed into law by the President on
July 7, 2018, permanently allows appellants to file petitions for judicial review of
                                                                                       7

review within 60 days of the date of issuance of this decision.                5 U.S.C.
§ 7703(b)(1)(B).
      If you submit a petition for judicial review to the U.S. Court of Appeals for
the Federal Circuit, you must submit your petition to the court at the
following address:
                               U.S. Court of Appeals
                               for the Federal Circuit
                              717 Madison Place, N.W.
                              Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.




MSPB decisions in certain whistleblower reprisal cases with the U.S. Court of Appeals
for the Federal Circuit or any other circuit court of appeals of competent jurisdiction.
The All Circuit Review Act is retroactive to November 26, 2017. Pub. L. No. 115-195,
132 Stat. 1510.
                                                                        8

      Contact information for the courts of appeals can be found at their
respective websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .




FOR THE BOARD:                       ______________________________
                                     Gina K. Grippando
                                     Clerk of the Board
Washington, D.C.
